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            Declaration of Isaac Lefkowitz (with Exhibits A-B) Pg 1 of 37


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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                  :
In re:                            :
                                  :          Case No. 17-22218 (RDD)
RS OLD MILL, LLC,                 :
                                  :          Chapter 11
                  Debtor.         :
                                  :
                                  :
                                  :
RS OLD MILL, LLC,                 :
                                  :          Adversary No. 19-8243 (RDD)
                  Plaintiff,      :
                                  :          DECLARATION OF ISAAC
           - against -            :          LEFKOWITZ IN SUPPORT OF
                                  :          EMERGENCY MOTION BY SUFFERN
SUFFERN PARTNERS LLC,             :          PARTNERS LLC TO APPROVE SALE
BRIDGEWATER CAPITAL PARTNERS :               OF SUBSTANTIALLY ALL OF
LLC, ISAAC GENUTH, MARK YUNGER :             DEBTOR’S ASSETS TO SUFFERN,
a/k/a “MARK JUNGER,” GOLDIE       :          NUNC PRO TUNC, AND FOR OTHER
REISMAN, MOSES REICHMAN, RS OLD :            RELATED RELIEF
MILLS RD LLC., DAVID              :
FLEISCHMANN, THOMAS               :
LANDRIGAN, and CPIF LENDING, LLC, :
                                  :
                  Defendants.     :
                                  :

       ISAAC LEFKOWITZ, pursuant to 28 U.S.C. § 1746, hereby declares that the

following is true and correct:
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       1.     I am the CEO of Suffern Partners LLC (“Suffern”), a party-in-interest in the

above Chapter 11 proceeding involving RS Old Mill, LLC (“Debtor”) (the “Chapter 11

Case”) and a defendant in the Debtor’s proposed adversary proceeding (the “Adversary

Proceeding”). As such, I am fully familiar with the facts set forth below, which are true to

the best of my personal knowledge or based upon the documents I have reviewed in

connection with this matter. I am authorized by Suffern to provide this Declaration.

       2.     I respectfully submit this Declaration in support of Suffern’s motion

(a) approving the sale of substantially all of the assets of Debtor to Suffern, nunc pro tunc, to

September 1, 2017, (b) dismissing the Chapter 11 Case, and (c) dismissal and/or abstention

as to all claims asserted in Debtor’s proposed Adversary Proceeding Complaint.

       3.     Suffern’s primary asset is a large piece of property, consisting of

approximately 162 acres of land and several hundred thousand square feet of improvements

thereon, located in Rockland County, New York (the “Premises”), which it acquired for

$30 million in September 2017 through a transaction structured and effectuated by Debtor.

       4.     Suffern’s interest in purchasing the Premises dates back to late 2016, at or

about the time that Debtor executed a contract of sale with Novartis Corporation

(“Novartis”) to purchase the Premises for $18 million (the “Sale Agreement”). The day

after Debtor executed the Sale Agreement, Debtor agreed to assign its right to buy the

Premises to a third-party entity called RS Old Mills Rd LLC (“Old Mills Rd”) for $25

million. Thereafter, on December 16, 2016, Old Mills Rd agreed to sell the Premises to

Suffern for $30 million once it had acquired it from Debtor. True and correct copies of these

agreements are attached hereto as Exhibits A and B, respectively.




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       5.     Ultimately, Debtor was unable to close on the Premises in a timely manner

because of its inability to secure financing. Nevertheless, after the deadlines in the agreements

passed, Suffern ultimately agreed to secure funding for the Premises and pay $30 million, a

$12 million premium over the price in the Sale Agreement.

       6.     Prior to closing on the Premises, Suffern sought and obtained a $33 million

loan from CPIF Lending, LLC (“CPIF”) to finance the acquisition. In order to make the

Premises an income generator, Suffern has undertaken efforts to find tenants for the Premises,

which houses a complex pharmaceutical manufacturing facility that is exceedingly costly to

maintain. These efforts were stopped, however, when Debtor filed the proposed Adversary

Proceeding against Suffern and a number of other defendants in an attempt to avoid its sale

of the Premises – a transaction that generated $12 million for Debtor. I understand that the

proposed Adversary Proceeding concerns a dispute among Debtor’s principals over their

alleged rights to Debtors’ equity. Such dispute is unrelated to Suffern.

       7.     The proposed Adversary Proceeding has, in effect, created a cloud on Suffern’s

title to the Premises which is preventing Suffern from leasing the property. This, in turn, is

causing significant damage to Suffern in the form of the monthly carrying costs on the

Premises, which, including debt service on the CPIF loan, utilities, taxes, and other costs,

exceed $1 million per month.

       8.     Accordingly, Suffern is seeking this Court’s approval of Debtor’s sale of the

Premises to Suffern on an emergency basis so that it can promptly resume its efforts to lease

and develop the Premises.

       9.     I declare under penalty of perjury that the foregoing is true and accurate to the

best of my knowledge, information, and belief.



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DATED:   New York, New York
         April 19, 2019



                                             ISAAC LEFKOWITZ




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                   EXHIBIT B
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